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                             Exhibit 1

                      Reply Brief in Support of
            Dr. Abdullah Bin Abdul Mohsen Al-Turki’s
           Motion to Dismiss the Third Amended Complaint

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